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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 0:21-md-3015-SINGHAL/Valle


   IN RE:                                                          MDL CASE NO.: 3015

   JOHNSON & JOHNSON AEROSOL SUNSCREEN                                       Order No. 20
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION
  __________________________________________/

  THIS DOCUMENT RELATES TO: ALL CASES
  __________________________________________/


                                     OMNIBUS ORDER

        THIS CAUSE is before the Court on Plaintiffs’ Motion to Extend Page Limit (DE

  [76]), filed June 2, 2022, Plaintiffs’ Motion and Memorandum in Support of Attorneys’

  Fees, Costs, and Incentive Awards (DE [77]), filed June 2, 2022, and Plaintiffs’ Motion to

  Correct Scrivener’s Error (DE [78]), filed June 3, 2022. The Court having carefully

  reviewed the motions, the record, and being otherwise duly informed therein, it is hereby

        ORDERED AND ADJUDGED as follows:

        1. Plaintiffs’ Motion to Extend Page Limit (DE [76]) is GRANTED.

        2. Plaintiffs’ Motion to Correct Scrivener’s Error (DE [78]) is GRANTED. Plaintiffs

            must separately re-file the amended pleading pursuant to Local Rule 15.1, by

            June 10, 2022.
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        3. Accordingly, Plaintiffs’ Motion and Memorandum in Support of Attorneys’ Fees,

           Costs, and Incentive Awards (DE [77]) is DENIED WITHOUT PREJUDICE AS

           MOOT.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 6th day of

  June 2022.




  Copies furnished to counsel of record via CM/ECF




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